UNITED STATES BANKRUPTCY COURT
FOR THE EASTERN DISTRICT OF MICHIGAN-SOUTHERN DIVISION

In Re: Maude's Alabama BBQ, LLC Case No. 24-31583
Ch. 11
Judge: Joel D. Applebaum

Debtor.

The debtor has filed a motion to use cash collateral, which is attached to this Cover Sheet. In
accordance with LBR 4001-2(6) (E.D.M.), the debtor has identified below, by page and paragraph number,

the location in the proposed order accompanying the motion of each of the following provisions:

Provision Contained in |Location in Proposed
Proposed jOrder
Order

(1) Provisions that grant liens on the estate's claims and Page_,

causes of action arising under Chapter 5 of the Code. X NO

(2) Provisions that grant cross-collateralization protection

to the prepetition secured creditor (i.e., clauses that secure Page

prepetition debt with categories of collateral that were not

covered by the secured party's lien prepetition) other than

liens granted solely as adequate protection against X No

diminution in value of a prepetition creditor's collateral. |

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(3) Provisions that establish a procedure or conditions for

relief from the automatic stay. IX No Page __

(4) Provisions regarding the validity or perfection of a

secured creditor's prepetition liens or that release claims X NO Page ,

against a secured creditor.

(5) Provisions that prime any lien without that

lienholder’ s consent. Page,
X No

(6) Provisions that relate to a sale of substantially all of

the debtor's assets. Pages,
.X No

(7) Provisions for the payment of professional fees of the

debtor or any committees, including any carve-outs for X No Page_,

such payments. P

(8) Provisions for the payment of prepetition debt.

Page. sy

|X NO

(9) Provisions that waive the debtor's exclusive right to

file or solicit acceptances of a plan during the time * No Pages,

periods specified in 11 U.S.C. § 1121.

10) Provisions that require the debtor's plan to be on

(10) q p IX No Page,

terms acceptable to the secured creditor.

(11) Provisions that require or prohibit specific terms in

the debtor's plan. Xx No Page,

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(13) Provisions that waive surcharge under 11 U.S.C.

§ 506(c). Page,
NO

(14) Provisions that address the rights and obligations of

guarantors or co-obligors. Page,

(15) Provisions that prohibit the debtor from seeking ap-
proval to use cash collateral without the secured creditor's Page _,

consent.

(16) Provisions that purport to bind a subsequent trustee.

Page,

K
Z
0

(17) Provisions that obligate the debtor to pay any ofa

secured creditor's professional fees.

ps
z
oO

Page,

Respectfully submitted,

BANKRUPTCY LAW OFFICE
Dated: 8/23/24

/s/_ George E. Jacobs
George E. Jacobs (P36888)
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UNITED STATES BANKRUPTCY COURT
FOR THE EASTERN DISTRICT OF MICHIGAN-SOUTHERN DIVISION

In Re: Maude's Alabama BBQ, LLC Case No. 24-31583
Ch. 11
Judge: Joel D. Applebaum

Debtor.

DEBTOR'S MOTION FOR INTERIM AND FINAL ORDER TO AUTHORIZE THE USE OF
CASH COLLATERAL PURSUANT TO SECTION 363 (C} OF THE BANKRUPTCY
CODE GRANTING ADEQUATE PROTECTION FOR THE USE THERE OF AND
SCHEDULING FINAL HEARING PURSUANT TO BANKRUPTCY RULE

4001 AS TO USE OF CASH COLLATERAL

The above-captioned Debtor and Debtor in possession (collectively, the Debtor) by and through
its undersigned proposed attorney hereby file this Motion for Interim and Final Order Authorizing
Use of Cash Collateral Pursuant to Section 363(c) of the Bankruptcy Code Granting Adequate
Protection for the use thereof and Scheduling a Final Hearing Pursuant to Bankruptcy Rule 4001 as
to Use of Cash Collateral (the "Motion) and in support hereof, respectfully states as follows:

I.
JURISDICTION AND VENUE

This Court has jurisdiction over these matters pursuant to 28 U.S.C. §§ 157 and 1334.
This is a core proceeding pursuant to 28 U.S.C. §§ 157. Venue is proper before this Court pursuant
to 28 U.S.C. §§ 1408 and 1409. The statutory predicate for the relief requested in this Motion are
Bankruptcy Code§§ 105,361,362 and 363 and Bankruptcy Rules 2002, 4001, and 9014.

I.

BACKGROUND
1. On August 23, 2024 ("the Petition Date"), the Debtor filed voluntary
petition for relief (the "Bankruptcy Case") under chapter 11, title 11 of the United

States Bankruptcy Code (the "Bankruptcy Code") in the United States Bankruptcy

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Court for the Eastern District of Michigan (the "Court"). The Debtor continues to operate
and manage its business as Debtor in possession pursuant to sections 1107(a) and 1108 of
the Bankruptcy Code.

2. The Debtor operates 2 barbecue restaurants. It also wholesales its own sauces. It employs
20 people and has been operating since 201 9 in the Genesee and Lapeer County Michigan area.
It's majority shareholder is Ronald Darnell. The filing of the bankruptcy came as the result of the
Debtor's failure to cash flow having to borrow money from merchant cash advance creditors to cover
unexpected expenses. The Debtor covered not service this debt.

3. Idea 247, Inc. holds a first lien on the Cash Collateral assets of the Debtor to secure its

loan of $41,891. This loan is partially unsecured as the value of the assets of the Debtor which

secure this loan totals $31,000.

IV
RELIEF REQUESTED

4. Pursuant to Bankruptcy Rule 4001(b), the following summarizes the material terms of the
Interim Order. The Debtors seek authority to use the Cash Collateral (as defined below). The Debtor seeks to use
such Cash Collateral as working capital in the operation of its business for the purposes specified in, and at least
for the period defined in the attached budget. As adequate protection for the diminution value of Cash
Collateral, the Debtor will maintain the value of its business as a going concern, and provide replacement liens
upon now owned and after-acquired cash to the extent of any diminution of value of Cash Collateral for both

creditors with liens on Cash Collateral.

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5. By this Motion, pursuant to Bankruptcy Code§§ 105,361,362, and 363 and Bankruptcy Rules
2002, 400 I, and 9014, the Debtor requests that the Court enter an order approving the
Debtor's use of Cash Collateral, providing adequate protection for, and to the extent of, any
diminution in the value of Cash Collateral, and scheduling a final hearing (the "Final
Hearing") for this Court to consider entry of a final order (the "Final Order") authorizing and

approving the relief requested in this Motion.

V.
APPLICABLE AUTHORITY

6. Under 11 U.S.C. § 363 (c)(2), a Debtor may use cash collateral if each entity that has an
interest in such cash collateral consents or the Court, after notice and a hearing authorizes
the use of cash collateral. Cash collateral is defined as, "Cash negotiable instruments,
documents of title, securities, deposit accounts, or other cash equivalents whenever
acquired in which the estate and an entity other than the estate have an interest". 11
U.S.C. § 363(a). Pursuant to 11 U.S.C. § 363 (c)(3), the Court must condition a Debtor's
use of cash collateral as is necessary to provide adequate as is necessary to provide
adequate protection of the interest in the cash collateral claimed by a patty.

7. Bankruptcy Rule 4001(b) and (d) governs the procedure for consideration of motions to
use cash collateral, and both of these subsections provide for expedited consideration of
such mo tions for cases in which immediate interim relief may be crucial to the success of
a reorganization.

8. Ata hearing on Debtor's motion for the use of cash collateral, the Debtor bears the burden of
proof on the issue of adequate protection, and the party, claiming an interest in the cash
collateral bears the burden of proof on the issue of the validity, priority, or extent of the lien.

11 U.S.C. § 363 (p) ("In a hearing under (§363), the entity asserting an interest in property has

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the burden of proof on the issue of the validity, priority, or extend of such interest".)

A. Failure to Obtain the Immediate Interim Use of Cash Collateral Would Cause
Immediate and Irreparable Harm.

9. Asset forth in the Declaration of Ronald Darnell in Support of the Debtor's Chapter 11
Petitions and First Day Motions the Debtor's inability to access cash pre-petition could
force the Debtor to cease operations assets. Accordingly, the Debtor faces "immediate and
irreparable harm to the estate" absent the consideration of the relief requested in this
motion. The immediate use is necessary, and it will stabilize the Debtor's operations and
revenue by allowing the Debtor to main tain minimal staffing levels sufficient to operate
the Debtor's business. Without authority to use Cash Collateral, the Debtor will not be
able to function as a going concern and will not be able to proceed to consideration of a plan
of reorganization. The Debtor posses substantial assets which could be lost entirely if the
Debtor is unable to resume operations. Accordingly, authority to use Cash Collateral is
necessary to avoid the shutdown of the Debtor's business, and will be in the best interest

of the Debtor, its estates and its creditors.

B. The Proposed Adequate Protection

10. The Debtor intends to provide adequate protection, to the extent of the aggregate
diminution in value of Cash Collateral from and after the Petition Date, to Lenders for
the use of the Cash Collateral by:
a. Maintaining the going concern value of the Debtor's business by using the
Cash collateral to continue to operate the business and administer this Chapter 11 Case;
and
b. Providing to Idea 247, Inc. post petition replacement liens pursuant to 11 U.S.C.§

363 (p) (2) in the cash collateral assets of the Debtor, including

cash generated or received by Debtor subsequent to the Petition Date, but only

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to the extent that they shall be the same as existed as of the Petition Date.

11. The Debtor believes that Idea 247, Inc. is adequately protected for the use
of the cash collateral in that the orderly operation of the Debtor's business generates sufficient revenues to
protect any diminution in value of the cash collateral. Indeed, the continuation of the Debtor's operations
presents the best opportunity for Idea 247, Inc. to receive the greatest recovery on account of their claims.
Accordingly, the Debtor submits that use of cash collateral will allow the Debtor to continue its
operations and thereby protect the interests of Idea 247, Inc.

12. Courts have consistently recognized that the preservation of the going concern value of secured
creditors collateral constitutes adequate protection of such creditors interests the collateral. See, e.g., Inre
Pursuit Athletic Footwea,; Inc.. 193 B.R. 713, 716 (Bankr D. Del. 1996) (holding that if there is no actual

diminution of value of collateral, and the Debtor can operate profitably post petition, then the secured
creditor is adequately protected); In re 499 W Warren St. Assoc., Ltd P ship, 142 B.R. 53, 56 (Bankr.
N.D.N.Y. 1992) (finding a secured creditor's interest in collateral adequately pro tected when cash
collateral was applied to normal operating and maintenance expenditures on the collateral property); Inre
Willowood E. Apartments of Indianapolis IL Ltd, 114 B.R, 138,143 (Bankr. S.D. Ohio 1990) (same);
Inre Stein, 19 B.R. 458,460 (Bankr. E.D. Pa. 1982) (creditors’ se cured position would be enhanced by
the continued operation of the Debtor's business); In re Aqua Assocs, 124 B.R. 192, 196 (Bankr. E.D.
Pa 199 1) ("The imp0l lant question, in determining whether the protection to a creditor's secured
interest is adequate, is whether that interest, whatever it is is being unjustifiably jeopardized." (citation

omitted).

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V.
REQUEST FOR INTERIM RELIEF

13. An immediate need exits for the Debtor to obtain approval of the use of cash collateral
in order to meet key expenses as described above and as identified in the Budget attached as
Exhibit "B". This amount totals $107,777 for the 6 week period for August 23, 2024 through
October 5, 2024. Without the immediate use of the cash collateral for an interim period, the
Debtors will not be able to resume operations and risks the loss of significant assets. Clearly
this would have a severe negative impact upon the Debtor's going concern value and ability
to successfully create value for all creditors. The Debtor's business, as a going concern, has a

value far in access of any value that might be obtained in a chapter 7 liquidation.

VI
REQUEST FOR FINAL HEARING

14. Pursuant to Bankruptcy Rules 4001(b)(2) and 4001(c)(2), the Debtor also requests that
the Court set a date for a final hearing as soon as practicable and fix the time and date prior to
the Final Hearing for parties to file objections to this Motion.

15. Notice of this Motion will be provided by email, when available, or by traditional mail
to: the Office of the United States Trustee for the Eastern District of Michigan to the Debtor's
secured creditors the parties listed on the Debtor's master service list and the Sub Chapter V
Trustee. The Debtor submits that in light of the nature of the relief requested, no other or
further notice need be given.

VII.
WHEREFORE, the Debtor requests that this Court enter an order, in substantially the form
filed herewith, granting relief requested in this Motion, and such other and further relief as may be

just and proper under the circumstances.

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Respectfully submitted,

BANKRUPTCY LAW OFFICE

Dated: 8/23/24 T r ac
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UNITED STATES BANKRUPTCY COURT
FOR THE EASTERN DISTRICT OF MICHIGAN-SOUTHERN DIVISION

In Re: Maude's Alabama BBQ, LLC Case No. 24-31583
Ch. Ii
Judge: Joel D. Applebaum

Debtor.
/

ORDER GRANTING DEBTOR'S AUTHORIZATION FOR DEBTOR'S INTERIM
USE OF CASH COLLATERAL AND PROVIDING ADEQUATE

PROTECTION TO IDEA 247, INC.

This matter came before the Court upon Debtor's Motion for Interim Order Authorizing
Debtor's use of Cash Collateral filed on August 23, 2024.
The Court has reviewed the Motion, and other pertinent pleadings, and has considered the
statements made at the initial hearing. The Court is sufficiently advised in the premises.

C. On August 23, 2024. ("Petition Date"), the Debtor filed for relief
under Chapter 11, Subchapter V of the United States Bankruptcy
Code (the "Bankruptcy Code").

d. The Court has jurisdiction over this matter pursuant to 28
U.S.C. §§ 157 and 1334.

e. The Court's consideration of this Motion constitutes a core proceeding
as defined in 28 U.S.C. §§ 157(b)(2)(A), (K) and (M).

f. The procedures set forth in this Order constitute sufficient "notice
and hearing" under Section 102 and 363(c) of the Bankruptcy
Code, Bankruptcy Rule 2002, 4001, 6004 and 9006. This Order is
being entered solely on an interim basis pursuant to Bankruptcy
Rule 4001, and is expressly subject to the rights of parties in inter
est to object as specifically provided in paragraph below.

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Debtor requires funds to pay expenses in connection with maintaining
operations, including satisfying taxes, payroll, and paying utilities.
Failure to pay these and similar critical expenses would cause Debtor
immediate and irreparable harm by disrupting Debtor's ability to
maintain operations, effectively shutting down Debtor.

Debtor does not have sufficient unencumbered funds to meet these
expenses. Accordingly Debtor requires authorization to use cash
collateral to avoid immediate and irreparable harm. The amount of cash
Debtor proposes to use before entry of a final order granting the Motion
(including adequate protection payments as authorized under this Order)
is $107,777.

The Debtor has the following pre-petition indebtedness with the following

creditors with an interest in Cash Collateral:

1. Idea 247, Inc. $41,893

NOW, THEREFORE, IT IS HEREBY ORDERED that the Debtor is authorized to

use cash collateral, but only under the terms and conditions set forth in this Order.

L.

Idea 247, Inc. (hereinafter "Secured Creditors") shall receive re placement liens
in the Debtor's post petition assets to the same extent and with the same
priority it had by virtue of the pre-petition perfected security interests as of
the petition date but only as to the amount of diminution in value of its

interests.

Debtor's permission to use cash collateral shall terminate upon

the occurrence of any of the following: (a) Debtor's failure to abide by any
of the terms and conditions contained in this Order, any Debtor-in
Possession order, or any other order of this Court; (b) an order being
entered dis missing this case or converting this case to a case under
Chapter 7 of the Bankruptcy Code, appointing Trustee to perform any

duties of the Debtor, or terminating the authority of the Debtor to conduct

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business; or (c) Debtor's cessation of operations for any reason.

3. As adequate protection of the interests of the Secured Creditors under§§
361,362, and 363(e) of the Bankruptcy Code, and to secure the payment of
the indebtedness, the secured creditors are hereby granted security interests
and replacement liens to the extent of the Secured Creditors were secured as
of the petition date, upon the following property of the Debtor: all assets of
the Debtor including, but not limited to, all accounts that the Debtor maintains,
accounts receivable, notes (and all collateral security therefor), general
intangibles (including, but not limited to, any insurance proceeds), chooses in
action, instruments, documents, chattel paper, goods, inventory, fixtures,
equipment, chattels, machinery and furniture, and the products and
proceeds of all of the foregoing, arising, created or acquired. subsequent to
the filing of the Chapter 11 Petition provided, however, that any causes of
action brought under Chapter 5 of the Code and recoveries there from
(collectively, "Chapter 5 Causes of Action") shall be excluded from the
collateral of the Secured Creditors. The security interests and liens granted
by this paragraph shall constitute perfected liens and security interests in
favor of the secured creditors on all personal property of the Debtor except

Chapter 5 causes of action.

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4. In addition to and separate from the replacement liens, the Secured

Creditors liens on the collateral pursuant to the security agreements will
extend to post petition collateral and the products, profits and proceeds
thereof under §552 (b). The Secured Creditors will be entitled to all of
the rights and benefits of §552 (b) and the "equities of the case" exception
in §552 (b) will not apply with respect to the proceeds, products or profits of
any of the collateral.

5. The Debtor shall duly pay as the same shall become due and payable all
post-petition taxes, assessments and governmental and other charges, which
if unpaid, might become a lien or charge upon the collateral, assets, earnings or
business of the Debtor, as the case may be. The Debtor shall also pay when due,
all administrative taxes, including any and all federal and state withholding taxes
and personal property taxes. Further, the Debtor shall file all monthly operating
reports.

6. Upon the occurrence of a material event of default by Debtor of any duty as

described above and after seven (7) calendar days' written notice given by Idea

247, Inc. to Debtor, Debtor's attorney, the U.S. Trustee, and the
Subchapter V Trustee and unless the default has been cured during such seven-
day period, Idea 247, Inc. can file a motion on 7 days notice to

lift the automatic stay.

7. Except as otherwise set forth in this Order: the Debtor acknowledges and
agrees that the pre-petition indebtedness of Idea 247, Inc. constitutes valid and
binding indebtedness of the Debtor. All of the cash generated constitutes cash
collateral as defined in §363(a) of the Bankruptcy Code, and (b) the Debtor

further acknowledges and agrees that Idea 247, Inc. has a valid and perfected

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security interest in and liens on all of the Debtor's pre-petition collateral, with
priority over all other security interests in and liens on the pre-petition
collateral. The Debtor formerly acknowledges that the security interests and
liens are not subject to avoidance. Any party can challenge the validity and
priority of the security interests by filing an objection in accordance with
paragraph 17.
8. No delay on the part of the secured creditors in exercising any right,
power or privilege hereunder shall operate as a waiver thereof nor shall
any single or partial exercise of any right, power or privilege hereunder
preclude other or further exercise thereof or the exercise of any other
right, power or privilege. The rights and remedies hereunder specified
are cumulative and not exclusive of any rights or remedies which the
secured creditors may otherwise have.
9. Nothing contained herein shall: (a) bar Idea 247, Inc. from (i)

asserting rights to default rate of interest, (ii) contesting any
collateral valuation by the Debtor, or (iii) challenging the adequacy of
any adequate protection provided in this Order; or (b) serve to
compromise any rights of the Idea 247, Inc.under the Bankruptcy Code, its

financing documents, this Order, or pursuant to

applicable federal or state law. Likewise, nothing in this Order shall serve

to prejudice any of Debtor's rights and arguments with respect to

subsection a) of this paragraph, or compromise or prejudice any other

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rights and interests of Debtor except as explicitly set forth in this Order.

10. In the event that this Order or any authorization contained herein is reversed or
modified on appeal with respect to priorities, liens, and security interests
granted under this Order, it shall not limit or affect the rights of Idea 247, Inc.

arising from the payment of cash collateral in reliance upon this Order.

Il, Idea 247, Inc. shall not waive, and hereby expressly reserves, any and all claims,
defenses, rights and remedies they may have pursuant to any or all of
its financing documents, the Bankruptcy Code and/or other applicable law
against the Debtor and any officer, director, employee, agent or other representative
thereof. In addition, the rights, claims, liens, security interests and priorities of
arising under this Order are in addition to and are not intended as a waiver or
substitution for the rights, indebtedness, claims, liens, security interests and priorities

granted by the Debtor in its pre-petition capacity.
12. Ifthis Order becomes a final order the provisions of this Order shall be

binding upon the Debtor and its successors and assigns, and, except as otherwise
set forth in this Order, the pre-petition indebtedness of Idea 247, Inc. constitutes
an allowed claim in accordance with §506(a) of the Bankruptcy Code for all
purposes in this Case, and (ii) the liens and security interests in the collateral
shall be deemed to be valid, legal, binding, perfected, not subject to avoidance
or subordination and not subject to any other further challenge by any party in

interest, seeking to exercise the rights of the Debtor's estate.

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13. Ifany of the provisions of this Order are hereafter modified, vacated or
stayed by subsequent order of this or any other Court, such stay,
modification or vacatur shall not affect the validity and enforceability
of any lien, priority, right, privilege or benefit authorized hereby with
respect to the pre-petition indebtedness, including without limitation,
the replacement liens.

14. Notwithstanding any provision contained herein, this Order shall not be
binding on any future trustee (Chapter 7 or 11). To avoid immediate and
irreparable harm to the Debtor pending a final hearing on the Motion, the
Debtor may use cash collateral in the maximum amount of $107,777
only until October 5, 2024.

15. Debtor shall, within twenty-four (24) hours following the entry of this
Order, serve copies of this Order on each of the Debtor's 20 Largest
Unsecured Creditors, all the Secured Creditors, the SubChapter V
Trustee, the United States Trustee's Office, and all other parties who are
required to be served under F.R.Bankr.P.2002 and 4004.

16. This Order hereby incorporates by reference the attachment regarding
the 6 week budget attached to the original motion for use of cash collateral.
17. All parties seeking to object to this Order must file a written objection
within fourteen (14) days after the entry of this Order. A hearing on the

Motion will be held before the Honorable, Joel D. Applebaum,

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United States Bankruptcy Judge, Courtroom, 226 W. Second St, Flint, MI

48502, on 2024 at a.m. ET. If objections

are filed the hearing will be held in person with the exception that if any

objector and their counsel reside out of state, they may appear by telephone.
Parties should call 1-202-503-1666 and use Access Code 969654904 at least

five minutes before the scheduled hearing time and should place their

phones on mute and wait until their case is called before unmuting their phones
and participating. UNDER NO CIRCUMSTANCES SHOULD ANY
TELEPHONE BE PLACED ON HOLD. If no timely objection is filed then,
after the final hearing on the Motion, this Order shall become final order and
Debtor is thereafter authorized to use cash collateral for those expenses
referenced in the cash flow projection as well as any other expenses necessary
for operating the business in the ordinary course going forward until further

order of the Court.

Exhibit "A"

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2ekly projection of income and expense 08/23 08/30

Maudes Alabamma BBQ LLC

Financial statements in U.S. dollars

REVENUE
Gross sales 22,000
Sales Tax i3 30
Net sales
32,688
EXPENSES
Food Purchases 6,532
software expence
lawn care 350
credit card fees 464
Charitable contributions
Trahs pick up 385
Dues and subscriptions
Employee benefit programs
Insurance ~
Equioment lease 500
Licenses and fees
Miscellaneous
Office expenses 293
Third Party Deliver Expence 575
Moergage and land contract
Repairs and maintenance 650
Supplies 680
Telephone 157
Travel
Utilities
Vehicle expenses 255
Wages 2,900
Total expenses $13,277
Net operating income 7 of 03

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2ekly projection of income and expense 08/31 09/05
Maudes Alabamma BBQ LLC

Financial statements in U.S. dollars

REVENUE

Gross sales 23,675
Sales Tax 1,421
Net sales $22,255

EXPENSES

Food Purchases 7,122
software expence

lawn care

credit card fees 480
Charitable contributions

Trahs pick up

Dues and subscriptions

Employee benefit programs

Insurance 750
Equioment lease

Licenses and fees

Miscellaneous

Office expenses

Third Party Deliver Expence 575
Moergage and land contract

Repairs and maintenance

Supplies 586
Telephone

Travel

Utilities

Vehicle expenses

Wages 11,750
Total expenses $21,262

Net operating income $994

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2ekly projection of income and expense

Maudes Alabamma BBQ LLC

Financial statements in U.S. dollars

REVENUE

Gross sales
Sales Tax

Net sales

EXPENSES

Food Purchases

software expence

Bad debts

credit card fees

Charitable contributions
Contract labor

Dues and subscriptions
Employee benefit programs
Insurance

Equioment lease

Licenses and fees
Miscellaneous

Office expenses

Third Party Deliver Expence
Moergage and land contract
Repairs and maintenance
Supplies

Telephone

Travel

Utilities

Vehicle expenses

Wages

Total expenses

Net operating income

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Filed 08/23/24

22,774
1,366

6,850
60

464

293
575
2,340

986

1,945

277
2,900

09/07 09/13

$21,408

$16,353

$5,055

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2ekly projection of income and expense 09/14 09/20
Maudes Alabamma BBQ LLC

Financial statements in U.S. dollars

REVENUE

Gross sales 26,413
Sales Tax 1,585
Net sales $24,828

EXPENSES

Food Purchases 7,944
software expence

Bad debts

credit card fees 464
Charitable contributions

Contract labor

Dues and subscriptions

Employee benefit programs

Insurance -
Equioment lease

Licenses and fees

Miscellaneous
Office expenses 293
Third Party Deliver Expence 575

Moergage and land contract

Repairs and maintenance

Supplies 680

Telephone 157

Travel

Utilities

Vehicle expenses

Wages 12,800

Total expenses $22,914

Net operating income $1,914

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2ekly projection of income and expense 09/21 09/27
Maudes Alabamma BBQ LLC

Financial statements in U.S. dollars

REVENUE

Gross sales 23,000
Sales Tax 4,380
Net sales $21,620

EXPENSES

Food Purchases 6,918
software expence

Bad debts

credit card fees 434
Charitable contributions

Contract labor

Dues and subscriptions

Employee benefit programs

Insurance -
Equioment lease

Licenses and fees

Miscellaneous

Office expenses 293
Third Party Deliver Expence 575
Moergage and land contract

Repairs and maintenance

Supplies 680

Telephone 157

Travel

Utilities 4,450

Vehicle expenses

Wages 2,900

Total expenses $12,973
Net operating income $8,647

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2ekly projection of income and expense 09/28 10/05

NMaudes Alabamma BBQ LLC

Financial statements in U.S. dollars

REVENUE

Gross sales 22,850
Sales Tax 1,371
Net sales $21,479

EXPENSES

Food Purchases 6,768
software expence

lawn care

credit card fees 480
Charitable contributions

Trahs pick up

Dues and subscriptions

Employee benefit programs

Insurance

Equioment lease

Licenses and fees

Miscellaneous

Office expenses

Third Party Deliver Expence §75

Moergage and land contract 517

Repairs and maintenance

Supplies 450

Telephone . 308

Travel

Utilities

Vehicle expenses 150

Wages 11,750

Total expenses $20,998
Net operating incorne $481

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